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  12

  13   Attorneys for Plaintiff Jesus Leyva on behalf of himself and others similarly situated.
  14
                             UNITED STATES DISTRICT COURT
  15
                           CENTRAL DISTRICT OF CALIFORNIA
  16

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  18
       JESUS LEYVA on behalf of himself and         Case No.: 11-CV-00164-RGK-MAN
  19   others similarly situated.
                                                    CLASS ACTION
  20

  21         PLAINTIFF,                      NOTICE        OF      MOTION AND
                                             MOTION FOR FINAL APPROVAL
  22
       vs.                                   OF CLASS ACTION SETTLEMENT
  23                                         AND AWARD OF COSTS AND FEES
       MEDLINE INDUSTRIES, INC., a AND ENHANCEMENT PAYMENT
  24
       California Corporation; and DOES 1 to
  25   50, Inclusive.                        Date: August 4, 2014
                                             Time: 9:00a.m.
  26
              Defendants.                    Courtroom: Hon. R. Gary Klausner,
  27                                         United States District Judge
  28

         NOTICE OF MOTION AND MOTION FOR FINAL APPROVAL OF CLASS ACTION
       SETTLEMENT AND AWARD OF COSTS AND FEES AND ENHANCEMENT PAYMENT
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         NOTICE OF MOTION AND MOTION FOR FINAL APPROVAL OF CLASS ACTION
       SETTLEMENT AND AWARD OF COSTS AND FEES AND ENHANCEMENT PAYMENT
Case 5:11-cv-00164-RGK-MAN Document 78 Filed 07/07/14 Page 3 of 5 Page ID #:1365


  1         TO THE HONORABLE COURT, ALL PARTIES, AND THEIR
  2    RESPECTIVE ATTORNEYS OF RECORD:
  3          PLEASE TAKE NOTICE that on August 4, 2014 at 9:00 a.m. in Courtroom
  4    850 of the United States District Court, Central District of California, located at 255
  5    East Temple Street, Los Angeles, CA 90012, Plaintiff will move and hereby does
  6    move for final approval of the class action settlement reached between Plaintiff and
  7    defendant Medline Industries (“Defendant”) that was preliminarily approved by the
  8    Court on March 31, 2014 and an award to Plaintiff of costs and fees and an
  9    enhancement payment. Specifically, Plaintiff moves for an order:
  10         1.     Finding and determining that the notice procedure afforded to class
  11   members under the Settlement gave them the best notice practicable under the
  12   circumstances and satisfied the requirements of law and due process.
  13         2.     Finding and determining that the Settlement Class as defined below,
  14   meets all of the legal requirements for class certification, and ordering that the
  15   following Settlement Class is finally approved and certified as a class for purposes of
  16   settlement of this action:
  17                All current or former hourly, non-exempt employee of
                    Medline in California from October 29, 2006 to March 31,
  18
                    2014.
  19
             3.     Finding and determining that the terms of the Settlement are fair,
  20
       reasonable and adequate to the class and to each class member and that the class
  21
       members who have not opted out of the Settlement are bound by the Settlement;
  22
             4.     Finding and determining that the Settlement benefits to be provided to
  23
       Class Members who submitted claims in accordance with the Settlement are fair and
  24
       reasonable and giving final approval to and ordering the distribution of settlement
  25
       benefits in accordance with the Settlement.
  26
             5.     Finding and determining that Plaintiff's request for attorney's fees and
  27
       costs is reasonable and awarding attorney's fees in the amount of $465,000,
  28

        PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF THE MOTION FOR
          PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT, CASE NO. CV-00164-RGK-MAN
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  1    representing 29.06% of the Gross Settlement Amount and litigation costs in the
  2    amount of $17,000.
  3          6.     Finding and determining that Plaintiff's request for an enhancement
  4    payment in the amount of $5,000 is reasonable and awarding Plaintiff an
  5    enhancement payment in the amount of $5,000.
  6          7.     Ordering that, pursuant to the Settlement, all Class Members who did
  7    not timely request exclusion from the Settlement are permanently barred from
  8    prosecuting against Defendant and its parents, predecessors, successors, subsidiaries,
  9    affiliates, and trusts, and all of its employees, officers, agents, attorneys,
  10   stockholders, fiduciaries, other service providers, and assigns, any of the claims
  11   released by them under the Settlement.
  12         8.      Ordering the parties to comply with the terms of the Settlement.
  13         9.     Dismissing the action with prejudice and directing the clerk to enter
  14   the order granting final approval and dismissing the action as a final judgment.
  15         10.    Ordering that, notwithstanding dismissal of the action and entry of a
  16   final judgment, the Court shall retain jurisdiction over all matters relating to the
  17   interpretation, administration, implementation, effectuation and enforcement of its
  18   order or the Settlement.
  19         Plaintiff's motion for final approval and an award of costs and fees and an
  20   enhancement payment is made pursuant to Rules 23(e) and (h) of the Federal Rules
  21   of Civil Procedure on the grounds that the Settlement is fair, reasonable and
  22   adequate and the amounts of costs and fees and enhancement requested by Plaintiff
  23   are reasonable, and is based on this Notice; the Memorandum of Points and
  24   Authorities and Declarations of Joseph Lavi and David deRubertis filed herewith; the
  25   Confidential Statement submitted by Plaintiff; all other papers on file in this action
  26   and on any oral argument or other matters the Court may take into consideration
  27   when ruling on the motion.
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        PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF THE MOTION FOR
          PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT, CASE NO. CV-00164-RGK-MAN
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       Dated: July 3, 2014                Respectfully submitted,

  3                                       LAVI & EBRAHIMIAN, LLP
  4

  5                                       By:   /s/ Joseph Lavi, Esq.
  6
                                                Joseph Lavi, Esq.
                                                Attorneys for PLAINTIFF JESUS
  7                                             LEYVA and others similarly situated
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        PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF THE MOTION FOR
          PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT, CASE NO. CV-00164-RGK-MAN
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